        Case 1:24-cv-03501-PKC-VMS Document 5 Filed 05/14/24 Page 1 of 1 PageID #: 23

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                   Eastern District
                                                 __________         of of
                                                             District  New  York
                                                                          __________

                   ALEXANDER OTERO                                )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 24-cv-03501 PKC-VMS
                                                                  )
TRIANGLE AUTO BODY INC., RIDGEWOOD AUTO                           )
  SPRING INC., TRIANGLE AUTOMOTIVE INC.,                          )
  TRIANGLE TOWING AND RECOVERY, INC.,                             )
    ALBERT D'ANDREA, and BRIAN GERDTS,                            )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) TRIANGLE AUTO BODY INC., TRIANGLE AUTOMOTIVE INC., TRIANGLE TOWING
                                       AND RECOVERY, INC., & ALBERT D'ANDREA
                                       57-11 79th Ave. Ridgewood NY 11385


                                       RIDGEWOOD AUTO SPRING INC. & BRIAN GERDTS
                                       63-07 Fresh Pond Road, Flushing , NY 11385

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       HARRISON, HARRISON & ASSOC., LTD
                                       Julie Salwen, Esq. & David Harrison, Esq.
                                       110 State Highway 35, 2nd Floor
                                       Red Bank, NJ 07701
                                       Telephone: 888-239-4410
                                       jsalwen@nynjemploymentlaw.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                            CLERK OF COURT


Date:       5/14/2024                                                       s/
                                                                                       Signature of Clerk or Deputy Clerk
